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                    IN THE UNITED STATES BANKRUPTCY COURT

                             FOR THE DISTRICT OF ALASKA

In re:                                    :
                                          :
WILLIAM CLAUDE ABERCROMBIE                :      Case No. A18-00135
                                          :      Chapter 7
                                          :
               Debtor.                    :
                                          :

                   APPLICATION TO EMPLOY REAL ESTATE AGENT

         The Trustee applies for an order approving the appointment of Scott Free as his

real estate agent. It is necessary for applicant to employ a real estate agent to assist

him in this bankruptcy proceeding with the sale of a house in Hawkinsville, Georgia.

         The Trustee wishes to retain and employ Scott Free of Coldwell Banker Robins

& Free, 1271 South Houston Rd, W arner Robins, Georgia, 31088. Mr. Free will be paid

a commission of 6% on gross sale proceeds in addition to actual costs. The

employment of a real estate agent in this case is authorized by 11 U.S.C. §327(a).

         To the best of applicant's knowledge, information and belief, Mr. Free does not

hold or represent an interest adverse to this bankruptcy estate as required by 11 U.S.C.

§327 and is a disinterested person in this bankruptcy proceeding as defined by 11

U.S.C. §101(14)(A-C).
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February 1, 2019                                 Erik LeRoy, lawyer
                                                 Attorney for Trustee


                                                 /s/ Erik LeRoy




                                          Certificate of Service

I certify that February 1, 2019, a copy of this pleading was served by electronic means through the ECF
system as indicated on the Notice of Electronic Filing.




Erik LeRoy

/s/ Erik LeRoy
